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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


        IN THE UNITED STATES DISTRICT COURT FOR THE
      NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

SHIRLEY McBRAYER FLOOD, as                   )
PERSONAL REPRESENTATIVE of                   )
THE ESTATE OF DAVID DANIEL                   )
McBRAYER, deceased                           )
                                             )
      Plaintiff                              )
                                             ) Case No. 1:16-cv-1832-ACA
                                             )
CITY OF JACKSONVILLE,                        ) Hon. Annemarie C. Axon presiding
ALABAMA,                                     )
                                             )
      Defendant                              )

 DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE IN OPPOSITION
          TO MOTION FOR SUMMARY JUDGMENT

      Comes now the Defendant, City of Jacksonville (“Jacksonville”), which offers

this reply to Plaintiff’s response in opposition (Doc. 81) to its motion for summary

judgment (Doc. 76).




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    Response to Plaintiff’s Narrative Summary of Alleged Undisputed Facts

       1.      Defendant does not dispute the facts set forth in Paragraph 1, but does

respectfully state that these alleged facts are irrelevant and should be disregarded by

the Court because these facts are not material to the determination of Plaintiff’s sole

remaining claim under 42 U.S.C. § 1983 of “failure to train.” To prevail on this

claim, Plaintiff would have to show (1) that his constitutional rights were violated;

(2) that the municipality had a custom or policy that constituted deliberate

indifference to that constitutional right; and (3) that the policy or custom caused the

constitutional violation."1 Despite being undisputed, because these alleged facts do

not tend to establish any of these elements, they do not create any genuine issue of

material fact that defeats summary judgment.2 Moreover, because Plaintiff

ultimately lacks the required substantial evidence to establish the essential elements

of her claim, all other facts are necessarily rendered immaterial in any event.3

       2.      Defendant adopts its response in Paragraph 1 to this Paragraph 2.

       3.      Defendant adopts its response in Paragraph 2 to this Paragraph 3.

1
  McDowell v. Brown, 392 F.3d 1283, 1289 (11th Cir. 2004); City of Canton v. Harris, 489 U.S.
378, 388 (1989).
2
  See McCollough v. Antolini, 559 F.3d 1201, 1205 (11th Cir. 2009) (to overcome summary
judgment, “facts in dispute must raise a genuine issue of fact material to the determination of the
underlying issue”).
3
  “Facts in dispute cease to be ‘material’ facts when the plaintiff fails to establish a prima facie
case. ‘In such a situation, there can be “no genuine issue as to any material fact,” since a complete
failure of proof concerning an essential element of the nonmoving party's case necessarily renders
all other facts immaterial.” Bennett v. Parker, 898 F.2d 1530, 1532 (11th Cir. 1990) (quoting
Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986)). See also Craig v. Floyd Cty., 643 F.3d
1306, 1309 (11th Cir. 2011).

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      4.     Disputed as to the reference to what “officers” allegedly “thought” and

as to the reference to “JPD” in the collective. Any such statements in the affidavit

signed by McBrayer’s father and submitted with Plaintiff’s evidentiary submission

are either speculation or inadmissible hearsay. The November 8, 2014 arrest report

indicates only that JPD officers Gilbar and Lyons (who are not and never have been

named parties to this case) could smell the odor of an alcoholic beverage on

McBrayer. (Doc. 76-3/PX09.) The actual deposition testimony was also that a single

(unnamed) jailor began to suspect that McBrayer might have a mental health

problem within the first six hours after the November 8 arrest. (Id./pp.41-42, 57.)

These facts are also immaterial because this case does not involve any claim relating

to McBrayer’s confinement in the jail and Plaintiff has purportedly conceded that

this case does not present a claim for any alleged failure to accommodate

McBrayer’s alleged mental illness. (See Doc. 81/p.27.)

      5.     Disputed as to the reference to “JPD” in the collective and as to the

characterization that “JPD was concerned about releasing [McBrayer] on his own.”

Defendant adopts its response in Paragraph 4 to this Paragraph 5.

      6.     Defendant does not dispute the facts set forth in Paragraph 6, but does

respectfully state that these alleged facts are irrelevant and should be disregarded by

the Court because, for the reasons set forth in response to Paragraph 1, these facts




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are not material to the determination of this case and do not create any genuine issue

of material fact that defeats summary judgment.

       7.      Defendant adopts its response in Paragraph 6 to this Paragraph 7.

Moreover, to the extent that Plaintiff will later attempt to rely on this alleged fact to

argue or have this Court infer that Edwards knew McBrayer was mentally ill before

the fatal encounter, Defendant objects to any such usage of this alleged fact because

Plaintiff’s sought-after inference is based on speculation and conjecture and is not

reasonable, nor is it supported by any affirmative evidence.4

       8.      Defendant adopts its response in Paragraph 7 to this Paragraph 8.

       9.      Defendant adopts its response in Paragraph 7 to this Paragraph 9.

       10.     Defendant adopts its response in Paragraph 7 to this Paragraph 10.

       11.     Defendant does not dispute the facts set forth in Paragraph 11, but does

respectfully state that these alleged facts are irrelevant and should be disregarded by

the Court because, for the reasons set forth in response to Paragraph 1, these facts

are not material to the determination of this case and do not create any genuine issue

of material fact that defeats summary judgment. Again, these facts are also


4
  Ave. CLO Fund, Ltd. v. Bank of Am., N.A., 723 F.3d 1287, 1294 (11th Cir. 2013) (although all
reasonable inferences are to be drawn in favor of the nonmoving party, “an inference based on
speculation and conjecture is not reasonable”). “Though factual inferences are made in [Plaintiff's]
favor, this rule applies only ‘to the extent supportable by the record.’” Hammett v. Paulding Cty.,
Ga., 875 F.3d 1036, 1050 (11th Cir. 2017) (quoting Penley v. Eslinger, 605 F.3d 843, 853 (11th
Cir. 2010) (quoting in turn Scott v. Harris, 550 U.S. 372, 381 n.8 (2007)). “The mere fact that the
record, when viewed in the light most favorable to Plaintiff, is theoretically not inconsistent with
his narrative, is not enough to survive summary judgment.” Id.

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immaterial because this case does not involve any claim relating to McBrayer’s

confinement in the jail and Plaintiff has purportedly conceded that this case does not

present a claim for any alleged failure to accommodate McBrayer’s alleged mental

illness. (See Doc. 81/p.27.) Moreover, any alleged statements by some unnamed

“JPD officer” are inadmissible hearsay that cannot be reduced to admissible form at

trial, and which therefore cannot be considered on a motion for summary judgment.5

       12.    Defendant adopts its response in Paragraph 11 to this Paragraph 12.

       13.    Defendant adopts its response in Paragraph 11 to this Paragraph 13.

       14.    Defendant adopts its response in Paragraph 11 to this Paragraph 14.

McBrayer’s alleged statements to his father are also inadmissible hearsay that cannot

be considered on a motion for summary judgment.6

       15.    Defendant does not dispute the facts set forth in Paragraph 15, but does

respectfully state that these alleged facts are irrelevant and should be disregarded by

the Court because, for the reasons set forth in response to Paragraph 1, these facts

are not material to the determination of this case and do not create any genuine issue

of material fact that defeats summary judgment.

       16.    Defendant adopts its response in Paragraph 15 to this Paragraph 16.

       17.    Defendant adopts its response in Paragraph 15 to this Paragraph 17.


5
  Jones v. UPS Ground Freight, 683 F.3d 1283, 1293 (11th Cir. 2012) (citing Macuba v. DeBoer,
193 F.3d 1316, 1322 (11th Cir. 1999)).
6
  Id.

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       18.     Defendant adopts its response in Paragraph 15 to this Paragraph 18.

Also, this case does not involve any claim related to these alleged facts, and

McBrayer’s father does not allege that he ever subsequently attempted to call for

police assistance in obtaining treatment for McBrayer.

       19.     Defendant adopts its response in Paragraph 15 to this Paragraph 19.

       20.     Defendant adopts its response in Paragraph 15 to this Paragraph 20.

       21.     Disputed as to the contention that Edwards and Tomlinson “advised [an

apartment resident] that [McBrayer] was ‘mentally unstable.’” As an initial matter,

the evidentiary support for this contention is triple hearsay in that it is a summary by

an Alabama Bureau of Investigation Special Agent about what a witness told him

that unnamed JPD officers allegedly told her. (See Doc.80/p.7.) It is inadmissible in

considering the motion for summary judgment.7 Even if Plaintiff could somehow

overcome this objection, Defendant further objects to this alleged fact because (1)

Edwards and Tomlinson are never identified as the declarants of this alleged

statement; (2) Edwards has testified that he was not aware McBrayer had a mental


7
  Where there are multiple layers of hearsay, each layer must be excepted from the hearsay rule
for the statement to be admissible. See Fed. R. Evid. 805 (providing that "[h]earsay within hearsay
is not excluded by the rule against hearsay if each part of the combined statements conforms with
an exception to the rule"); see also United States v. Pendas—Martinez, 845 F.2d 938, 942-43 (11th
Cir. 1988) ("[E]ven if one level of double-hearsay statement was not hearsay under Rule
801(d)(1)(B), second level of hearsay was not excepted from rule and document was inadmissible"
(citing S. Stone Co. v. Singer, 665 F.2d 698, 703 (5th Cir. Unit B Jan.1982)). Here, Plaintiff has
eliminated, at best, only one level of hearsay (the first) by citing to Fed. R. Evid. 803(8), which
covers “public records,” but this does not make the underlying hearsay statements any less hearsay
and any less inadmissible.

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health condition before the fatal encounter;8 and (3) Plaintiff does not have

affirmative evidence that Edwards was involved in McBrayer’s prior arrest, nor does

Plaintiff have any evidence that Edwards knew McBrayer was suffering from mental

illness.9

         22.    Defendant does not dispute that Edwards and Tomlinson were at the

Coliseum Apartments investigating a call about “a person shooting a BB gun or gun

like that” at cars in the parking lot of the Coliseum Apartments. (See Doc.76-

2/pp.23, 27-28, 43; Doc.76-3/p.66.) Defendant does object to the use of the so-called

“Scott Statement” for any purpose in considering this summary judgment motion,

for the reasons detailed in Paragraph 21.

         23.    Defendant adopts its response to Paragraph 22 to this Paragraph 23.

         24.    Disputed as to the characterization that Edwards “ignored” his superior

officer’s directions on the scene. Edwards testified that the situation changed when

McBrayer came outside. (Doc. 76-2/pp.52-53.)

         25.    Defendant does not dispute that the referenced written statement is

correctly quoted, but objects to the inference that Plaintiff attempts to draw from it

that Edwards knew McBrayer was mentally ill. During his deposition, Edwards




8
    See Doc.76-2/pp.19, 22-23.
9
    See Doc. 76-4/p.33; Doc.76-5/¶81.

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clarified that it was his supervisor, Bishop, who actually knew McBrayer from the

prior arrest. (Doc.76-2/p.44.)

      26.    Defendant does not dispute the facts set forth in Paragraph 26, but does

respectfully state that these alleged facts are irrelevant and should be disregarded by

the Court because, for the reasons set forth in response to Paragraph 1, these facts

are not material to the determination of this case and do not create any genuine issue

of material fact that defeats summary judgment.

      27.    Disputed as to the characterization of where McBrayer intended to walk

after leaving the trunk of his car, as this is speculation. Defendant also respectfully

states that, for the reasons set forth in response to Paragraph 1, these alleged facts

do not create any genuine issue of material fact that defeats summary judgment.

      28.    Defendant does not dispute the facts set forth in Paragraph 28, but does

respectfully state that these alleged facts are irrelevant and should be disregarded by

the Court because, for the reasons set forth in response to Paragraph 1, these facts

are not material to the determination of this case and do not create any genuine issue

of material fact that defeats summary judgment.

      29.    Defendant adopts its response in Paragraph 28 to this Paragraph 29.

      30.    Disputed as to the characterization that Edwards and Tomlinson

“independently decided to pursue McBrayer.” Edwards testified that the situation

changed when McBrayer came outside. (Doc. 76-2/pp.52-53.) Moreover, to the



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extent that Plaintiff may attempt to rely on this alleged fact to argue or have this

Court infer that Edwards’ use of force was unreasonable, Defendant objects to any

such usage of this alleged fact because any such inference would be contrary to the

guiding legal principles on the use of force when an armed suspect poses a threat to

the officers or others. As to any alleged assertions based on the video recordings in

this case, Defendant respectfully asks this Court to disregard any non-factual or

advocatory gloss of the pertinent events and to “view the facts in the light depicted

by the videotape.”10

          31.    As to any alleged assertions based on the video recordings in this case,

Defendant respectfully asks this Court to disregard any non-factual or advocatory

gloss of the pertinent events and to “view the facts in the light depicted by the

videotape.”11

          32.    Defendant adopts its response to Paragraph 31 to this Paragraph 32.

          33.    Defendant adopts its response to Paragraph 31 to this Paragraph 33.

          34.    Defendant adopts its response to Paragraph 31 to this Paragraph 34.

          35.    Defendant adopts its response to Paragraph 31 to this Paragraph 35.

          36.    Defendant adopts its response to Paragraph 31 to this Paragraph 36.

          37.    Defendant adopts its response to Paragraph 31 to this Paragraph 37.



10
     Scott, 550 U.S. at 380-81.
11
     Id.

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          38.    Defendant adopts its response to Paragraph 31 to this Paragraph 38.

          39.    Defendant adopts its response to Paragraph 31 to this Paragraph 39.

          40.    Defendant adopts its response to Paragraph 31 to this Paragraph 40.

          41.    Disputed as to the characterization that the alleged crime was not

“serious” because this characterization is not supported by Plaintiff’s cited

evidentiary material. Moreover, even if the initial crime being investigated was a

property crime, at the time of the shooting, McBrayer’s conduct had escalated into

threating police officers with an edged weapon. (See Doc. 76-2/pp.33-34.)

          42.    Disputed. Edwards testified that the reasons McBrayer was not free to

return to his apartment was that he was “threatening two officers with a knife.” (Doc.

76-2/p.34.) Edwards also testified McBrayer was resisting arrest because he was

being detained for an investigation and he refused. (Id.)

          43.    Defendant respectfully asks this Court to disregard any non-factual or

advocatory gloss of the pertinent events and to “view the facts in the light depicted

by the videotape.”12

          44.    Defendant does not dispute the facts set forth in Paragraph 44, but does

respectfully state that, for the reasons set forth in response to Paragraph 1, they do

not create any genuine issue of material fact that defeats summary judgment.




12
     Scott, 550 U.S. at 380-81.

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      45.    Disputed to the extent that this statement attempts to imply or have this

Court infer that police officers cannot use reasonable force to respond to a threat to

their health or safety, regardless of whether the individual is suffering from a mental

health crisis, as any such assertion is rebutted by Plaintiff’s own expert, who

confirmed that an individual suffering from a mental health crisis could react

violently or erratically, just as an individual would who was under the influence of

drugs, and that this “sometimes appear[ed] to be the same” to an average officer,

(Doc. 76-4/pp.30-31), that an individual with an edged weapon walking toward an

officer is “still a threat” regardless of whether the individual is mentally sound or

unsound (id./pp.99, 137), and that an individual like McBrayer posed a threat under

the circumstances facing the Jacksonville officers at the time of the shooting,

(id./pp.84, 93, 99, 137).

      46.    Defendant does not dispute the facts set forth in Paragraph 46, but does

respectfully state that, for the reasons set forth in response to Paragraph 1, they do

not create any genuine issue of material fact that defeats summary judgment.

      47.    Defendant adopts its response to Paragraph 46 to this Paragraph 47.

      48.    Defendant adopts its response in Paragraph 46 to this Paragraph 48.

Moreover, to the extent that Plaintiff will later attempt to rely on this alleged fact to

argue or have this Court infer that Jacksonville does not conduct de-escalation

training, Defendant objects to any such usage of this alleged fact because Plaintiff’s



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sought-after inference is based on speculation and conjecture and is not reasonable,

nor is it supported by any affirmative evidence.13

       49.    Defendant adopts its response to Paragraph 48 to this Paragraph 49.

       50.    Defendant does not dispute the facts set forth in Paragraph 50, but does

respectfully state that, for the reasons set forth in response to Paragraph 1, they do

not create any genuine issue of material fact that defeats summary judgment.

       51.    Disputed, as Jacksonville provides training to its officers on de-

escalation techniques and the constitutional use of force and this is the correct legal

standard by which the adequacy of training is to be measured. (See Doc. 76-3/pp.44,

48-49, 70-72). Defendant also does respectfully state that, for the reasons set forth

in response to Paragraph 1, these alleged facts do not create any genuine issue of

material fact that defeats summary judgment.

       52.    Defendant does not dispute the facts set forth in Paragraph 52, but does

respectfully state that, for the reasons set forth in response to Paragraph 1, they do

not create any genuine issue of material fact that defeats summary judgment.

       53.    Defendant adopts its response to Paragraph 52 to this Paragraph 53.

       54.    Defendant adopts its response to Paragraph 52 to this Paragraph 54.

       55.    Defendant adopts its response to Paragraph 52 to this Paragraph 55.


13
   Ave. CLO Fund, Ltd., 723 F.3d at 1294 (speculative factual inferences are not reasonable for
summary judgment purposes); Hammett, 875 F.3d at 1050 (rule that factual inferences are made
in a plaintiff’s favor applies only to the extent supported by the record).

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       56.     Defendant adopts its response to Paragraph 52 to this Paragraph 56.

       57.     Defendant adopts its response to Paragraph 52 to this Paragraph 57.

       58.     Defendant adopts its response to Paragraph 52 to this Paragraph 58.

       59.     Defendant does not dispute that this is an accurate quotation from the

deposition of Plaintiff’s expert witness, but does dispute that this is proper expert

opinion. An expert witness’s opinion that is conclusory, speculative, and without a

proper evidentiary foundation (as is this statement) cannot create a genuine issue of

material fact.14 Moreover, the issues in this case (whether McBrayer’s constitutional

rights were violated, whether Jacksonville had a custom or policy that constituted

deliberate indifference to that constitutional right, and whether any such policy or

custom caused any constitutional violation) are all pure questions of law and are not

matters subject to expert testimony in any event.15 Therefore, this Court should

disregard this alleged fact for summary judgment purposes.

       60.     Defendant adopts its response to Paragraph 59 to this Paragraph 60.

Moreover, these facts are also immaterial because this case does not involve any

claim relating to McBrayer’s confinement in the jail and Plaintiff has purportedly


14
   Cf. generally Cook v. Sheriff of Monroe Cty., 402 F.3d 1092, 1106 (11th Cir. 2005) (concluding
district court did not abuse its discretion in excluding expert testimony in its entirety at trial for
multiple reasons, including, but not limited to, relevance, unhelpfulness, lack of sufficient factual
foundation, and ipse dixit).
15
   Myers, 713 F.3d at 1328 (expert testimony that police officer’s use of force was excessive did
not create a disputed issue of material fact); Clemons v. Knight, 662 F. App’x 725, 729 (11th Cir.
2016) (experts’ opinions did not create genuine issue of material fact regarding whether reasonable
officer could have perceived vehicle posed a danger).

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conceded that this case does not present a claim for any alleged failure to

accommodate McBrayer’s alleged mental illness. (See Doc. 81/p.27.)

      61.    Defendant does not dispute that its expert, Jack Ryan has written

material on the subject of mental illness, but does respectfully state that, for the

reasons set forth in response to Paragraph 1, this fact does not create any genuine

issue of material fact that defeats summary judgment.

      62.    Defendant does not dispute that this is an accurate quotation from

Plaintiff’s expert witness, but does dispute that this is proper expert opinion. An

expert witness’s opinion that is conclusory, speculative, and without a proper

evidentiary foundation (as is this statement) cannot create a genuine issue of material

fact. This alleged fact is also disputed as to the characterization that Defendant made

a “deliberate choice not to have a policy on responding to persons affected by mental

illness” because this assertion is not supported by the record.

      63.    Defendant does not dispute that its expert, Jack Ryan, wrote the quoted

material, but does respectfully state that, for the reasons set forth in response to

Paragraph 1, this fact does not create any genuine issue of material fact that defeats

summary judgment.

      64.    Disputed, as Jacksonville’s overall use of force policy makes clear that

an officer’s use of force must be reasonable and necessary, two standards that are

not only used in law enforcement policy and training, but also used in the legal



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standards governing use of force, and Edwards’ use of force against McBrayer was

consistent with generally accepted policies, practices, training, and legal mandates

applicable to police officers in field operations. (Doc. 76-5/¶¶63, 77, 79.) Defendant

also objects to this alleged fact as immaterial for the reasons set forth in response to

Paragraph 1, and more particularly because Plaintiff lacks any evidence, much less

substantial evidence, to establish that this alleged deficiency caused any alleged

violation of McBrayer’s constitutional rights, given that Plaintiff’s own expert

confirmed repeatedly that an individual like McBrayer posed a threat under the

circumstances facing the Jacksonville officers at the time of the shooting. (Doc. 76-

4/pp. 84, 93, 99, 137.) Defendant also adopts its response from Paragraph 59 that

this statement in Paragraph 64 is not proper expert opinion, should be disregarded,

and does not create a genuine issue of material fact.

      65.    Defendant does not dispute that this is an accurate quotation from

Plaintiff’s expert witness, but does object to this alleged fact as immaterial for the

reasons set forth in response to Paragraph 1, and more particularly because Plaintiff

lacks any evidence, much less substantial evidence, to establish that this alleged

deficiency caused any alleged violation of McBrayer’s constitutional rights, given

that Plaintiff’s own expert confirmed repeatedly that an individual like McBrayer

posed a threat under the circumstances facing the Jacksonville officers at the time of

the shooting. (Doc. 76-4/pp. 84, 93, 99, 137.) Defendant also adopts its response



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from Paragraph 59 that this statement in Paragraph 65 is not proper expert opinion,

should be disregarded, and does not create a genuine issue of material fact.

      66.    Defendant adopts its response to Paragraph 65 to this Paragraph 66.

      67.    Defendant adopts its response to Paragraph 65 to this Paragraph 67.

      68.    Defendant adopts its response to Paragraph 65 to this Paragraph 68.

      69.    Defendant adopts its response to Paragraph 65 to this Paragraph 69.

      70.    Defendant adopts its response to Paragraph 65 to this Paragraph 70.

Defendant also reavers that what a reasonable police officer would have done is a

pure question of law, not subject to expert testimony in any event.

      71.    Defendant adopts its response to Paragraph 70 to this Paragraph 71.

      72.    Defendant does not dispute that this is an accurate quotation from

Plaintiff’s expert witness, but does dispute that this is proper expert opinion. An

expert witness’s opinion that is conclusory, speculative, and without a proper

evidentiary foundation (as is this statement) cannot create a genuine issue of material

fact. Moreover, the issues in this case (whether McBrayer’s constitutional rights

were violated, whether Jacksonville had a custom or policy that constituted

deliberate indifference to that constitutional right, and whether any such policy or

custom caused any constitutional violation) are all pure questions of law and are not




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matters subject to expert testimony in any event.16 Therefore, this Court should

disregard this alleged fact for summary judgment purposes.

         73.     Defendant adopts its response to Paragraph 72 to this Paragraph 73.




16
     Myers, 713 F.3d at 1328; Clemons, 662 F. App’x at 729.

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                       Response to Plaintiff’s Legal Argument

       This case arises from Jacksonville Police Officer Edwards’ shooting of

McBrayer, who was armed with a knife and was in close proximity to and was

approaching Edwards and a fellow officer. Plaintiff has attempted to achieve

maximum sympathetic effect by depicting McBrayer as suffering from a mental

health crisis. However, the reality remains that McBrayer posed a serious threat at

the time of the shooting. To hold Jacksonville liable for McBrayer’s death, Plaintiff

would have to show: (1) that his constitutional rights were violated; (2) that the city

had a custom or policy that constituted deliberate indifference to that right; and (3)

that the policy or custom caused the constitutional violation."17 Plaintiff lacks

substantial evidence of any of these requirements to establish her “failure to train

claim,” and her legal argument offers nothing new to overcome summary judgment.

       The four reasons Plaintiff contends warrant the denial of summary judgment18

are unavailing. First, Plaintiff is incorrect that there are material facts in dispute.

Whether force is excessive under a given set of facts is a pure question of law19 and

here, not only is there undisputed video, but Plaintiff’s own expert confirmed

repeatedly that McBrayer posed a threat when he was shot.20 Second, there is no

genuine dispute as to whether Edwards knew McBrayer was mentally ill. For factual

17
   McDowell, 392 F.3d at 1289; City of Canton, 489 U.S. at 388.
18
   See Doc. 81/p.18.
19
   Myers v. Bowman, 713 F.3d 1319, 1328 (11th Cir. 2013).
20
   See Doc.76-4/pp.84, 93, 99, 137.

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issues to be genuine, they “must have a real basis in the record,”21 and the inference

Plaintiff attempts to draw is not a reasonable one.22 Third, the same is true of any

attempted assertion that Jacksonville does not train in de-escalation techniques.

       Fourth, respectfully, the argument that Jacksonville has a “complete lack of

training” on the use of force on the mentally ill is an unavailing attempt by Plaintiff

to conflate the correct legal standards and revive the already-dismissed ADA/RA

claims. The reasonableness of a use of force simply does not rise or fall on alleged

mental illness issues in isolation, but on the totality of the circumstances.23 In turn,

the adequacy of a city’s training in use of force is properly evaluated as a whole and

not by isolating alleged deficiencies on dealing with the mentally ill, and Plaintiff’s

argument otherwise should be rejected.24

       Stripped of its emotion and attempted innuendo, in this case, there was no

underlying constitutional violation by Officer Edwards; there had not been an

incident of Jacksonville police using lethal force for at least 35 years; and there was

no knowledge by the city of a need for additional training, nor a causal link between

McBrayer’s death and any city “policy or custom.” This Court should grant

summary judgment in Jacksonville’s favor.


21
   Evans v. Books-A-Million, 762 F.3d 1288, 1294 (11th Cir. 2014) (internal citation omitted).
22
   See Ave. CLO Fund, Ltd., 723 F.3d at 1294; Hammett, 875 F.3d at 1050.
23
   Smith v. LePage, 834 F.3d 1285, 1294 (11th Cir. 2016) (quotation marks omitted).
24
   Shaw v. City of Selma, 241 F. Supp. 3d 1253, 1279-80 (S.D. Ala. 2017) (claim of “lack of
‘training on dealing with the mentally ill’” involving suspect armed with axe failed because
plaintiff did not demonstrate training deficiencies).

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       I.     No constitutional violation in Edwards’ reasonable use of force, so
              no liability for Jacksonville.

       Plaintiff first attempts to create a genuine issue of material fact by arguing

Edwards’ use of force against McBrayer was unreasonable because of McBrayer’s

alleged mental health status.25 But, this is misguided under the well-recognized

principle that deadly force is “reasonable, and therefore constitutionally

permissible,” when an officer has “probable cause to believe his own life is in

peril,”26 or when a suspect, mentally ill or not, is reasonably believed to pose a grave

danger or threat of imminent harm to the officer or others.27 Plaintiff only points to

readily distinguishable cases to argue the contrary. Begin v. Drouin only generally

confirms that, “depending on the circumstances,” a court “could” regard mental

illness as “a” factor in applying force, and is factually inapposite because there, the

decedent was not moving toward the officer or any other person and was shot

without being given a warning or instruction to drop the knife.28

       Equally unavailing and distinguishable is Herrera v. Las Vegas Metro. Police

Dept.29 In Herrera, police entered the decedent’s home knowing he was alone and

mentally disturbed. Although armed with a small knife, he was not moving toward



25
   See Doc. 81/pp.19-21, 28-30.
26
   Singletary v. Vargas, 804 F.3d 1174, 1181 (11th Cir. 2015) (internal quotation omitted).
27
   E.g., Shaw, 241 F. Supp. 3d at 1273-74; Collar v. Austin, 2015 U.S. Dist. LEXIS 122609, at
*36 (S.D. Ala. Sep. 15, 2015).
28
   2017 U.S. Dist. LEXIS 60160, at *21 n.13 & 22-23 (D. Me. Apr. 20, 2017).
29
   298 F. Supp. 2d 1043 (D. Nev. 2004).

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them when they used non-lethal force, and when they escalated to lethal force, he

was “merely standing with the knife pointed skyward, stunned, for nearly a full

minute.”30 In the some fifteen years since it was decided, Herrera has been

distinguished three times due to factual differences that mirror those faced by

Edwards when encountering McBrayer.31

       Here, like the cases that distinguish Herrera, the undisputed facts show that

McBrayer, an armed and noncompliant suspect, posed a clear danger as he ignored

repeated commands to drop the knife and continued to advance toward Edwards.

When he made the decision to shoot, Edwards felt McBrayer threatened his and

Tomlinson’s safety.32 This is exactly the type of "tense, uncertain and rapidly

evolving" crisis envisioned by the Supreme Court,33 where inaction could have been

fatal to Edwards or his fellow officer, that forecloses any liability on his part.

       Shaw v. City of Selma also notably forecloses Plaintiff’s apparent argument

that there was a constitutional violation because the officers were somehow

“aggressors” who “provoked” a confrontation with McBrayer.34 As in Shaw, the

30
   Barber v. Santa Rosa, 2010 U.S. Dist. LEXIS 129093, at *17-18 (N.D. Cal. Dec. 7, 2010).
31
   Soto v. City of N.Y., 283 F. Supp. 3d 135 (S.D.N.Y. 2017) (decent was armed, pointed knife at
officers, and was charging towards them and a third party); Prostrollo v. City of Scottsdale, 2014
U.S. Dist. LEXIS 139612 (D. Ariz. Sep. 30, 2014) (plaintiff was advancing on officers with deadly
weapon and refused to stop, posing “significant threat” of death or serious injury); Barber, 2010
U.S. Dist. LEXIS 129093, at *17 (plaintiff armed with knife was agitated, failed to respond to
police commands, was a short distance from and advancing on officers).
32
   See Doc. 75; Doc.76-2/pp.27, 30, 34, 45-47, 49-50, & PX01.
33
   Graham v. Connor, 490 U.S. 386 (1989).
34
   See 241 F. Supp. 3d at 1273-74 (concluding “no reasonable observer” could conclude officer
provoked the suspect but was trying to defuse a dangerous situation with an erratic, hostile, armed

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fundamental problem with Plaintiff’s “provocation” argument and lengthy recitation

of her perception of the Graham factors35 is that it contradicts the evidence as shown

in the light depicted by the videotape36 and ignores the Supreme Court's admonition

that “officers are often forced to make split-second judgments — in circumstances

that are tense, uncertain, and rapidly evolving — about the amount of force that is

necessary in a particular situation.”37 However true it may be, as a general abstract

proposition, that there is a “commonsense” need to mitigate force when

apprehending a non-resistant suspect who was known to have diminished capacity,38

McBrayer was neither “non-resisting” nor known by Edwards to have diminished

capacity, and non-compliance by a suspect with police commands, particularly by

an armed suspect, supports the conclusion that use of deadly force was reasonable.39

       Even Plaintiff’s own expert repeatedly conceded that an individual with a

mental health crisis could react violently or erratically in a way that created a threat

to police officers and that an individual with an edged weapon walking toward an

officer, like McBrayer, is “still a threat” regardless of mental soundness.40 Despite




suspect, and even if plaintiff showed “provocation,” there was no clearly established law declaring
it unconstitutional for a police officer to approach a suspect or "provoke" a confrontation).
35
   See Doc. 81/pp.28-31.
36
   Scott, 550 U.S. at 380-81.
37
   Graham, 490 U.S. at 396-97.
38
   See Doc. 81/pp.20-21 (citing Phillips v. Cmty. Ins. Corp., 678 F.3d 513 (7th Cir. 2012).
39
   Hammett, 875 F.3d at 1051; Penley, 605 F.3d at 851.
40
   Doc. 76-4/pp.30-31, 99, 137.

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Plaintiff’s attempt to create a factual issue, Edwards’ use of force is a pure question

of law that must be resolved in his favor, foreclosing in turn Jacksonville’s liability.41

       II.     No genuine issue of material fact as to Edwards’ knowledge of
               McBrayer’s alleged mental illness.

       This Court should reject Plaintiff’s argument that “the City” was aware

McBrayer had a “serious, untreated mental problem” and that Edwards specifically

knew that McBrayer was “suffering from a mental illness” prior to the fatal

encounter.42 The “City’s” alleged knowledge, based on McBrayer’s previous

incarceration and his father’s interactions with the JPD, is a red herring. The only

claim here relates to the shooting, and any generalized knowledge about McBrayer’s

mental status at prior times is not material to what Edwards was facing at that time.

       Plaintiff’s attempt to create an issue of fact that Edwards knew McBrayer was

mentally ill is pure speculation that does not defeat summary judgment. It appears

to be based on nothing more than the otherwise-irrelevant alleged fact that Edwards

was on duty at various times during McBrayer’s previous incarceration, and an

assertion that Edwards “wrote that he knew [McBrayer] was suffering from mental

illness” but “denie[d] such knowledge in his subsequent deposition.”43 The fact that

Edwards was on duty at times during McBrayer’s incarceration tells this Court



41
   Shaw, 241 F. Supp. 3d at 1279.
42
   See Doc. 81/p.31.
43
   See Doc. 81/p.6, ¶ 9 & 30, n.5.

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nothing about whether Edwards encountered McBrayer in the jail (which he denies)

and is insufficient to permit a reasonable inference for summary judgment

purposes.44 Instead, all the available admissible evidence refutes any assertion that

Edwards knew McBrayer was mentally ill prior to the shooting and Plaintiff has no

affirmative evidence otherwise.45 Moreover, Plaintiff’s attempt to assert that

Edwards has “contradicted” himself on this point is simply not supported by a fair

reading of the evidence in its proper context but is strained at best given the

clarification that it was Edwards’ supervisor who had prior knowledge of

McBrayer.46 Such an attempt to create a genuine issue of material fact from a single,

abstract statement taken out of context must necessarily fail. Plaintiff has not pointed

to any affirmative evidence that creates a genuine issue of fact that Edwards knew

McBrayer was mentally ill and should have responded differently in some way.47

       III.    No genuine issue of material fact as to how Jacksonville officers are
               trained in the use of force.

       Plaintiff insists that this Court “must” make an inference from the record that

“there is no de-escalation training in the JPD,”48 but this is also wrong. Pusin’s

assertion that this training does not actually occur because there are no lesson plans



44
   Ave. CLO Fund, Ltd., 723 F.3d at 1294; Hammett, 875 F.3d at 1050.
45
   See Doc.76-2/pp. 19, 22-23; Doc. 76-4/p.33.
46
   See Doc.76-2/p.44.
47
   Hammett, 875 F.3d at 1050 ("[T]he plaintiff must present affirmative evidence in order to defeat
a properly supported motion for summary judgment.").
48
   See Doc. 81/p.32 n.7.

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is unsupported nonexpert personal opinion that lacks a basis in the record and does

not create a genuine factual issue.49 This case is like Mingo v. City of Mobile, where

the plaintiff attempted to argue the officers were not “actually trained” on four-point

restraints and identifying the mentally ill, but the deputy chief testified they were.

Because the Mingo plaintiff did not point to any evidence that conflicted with that

testimony, the court ruled “we cannot find that a material issue of fact exists” on this

issue.50 Likewise, Assistant Chief Wineman’s testimony demonstrates that de-

escalation training and instruction on use of force occurs at Jacksonville twice a year

and that Edwards actually received this training.51 Any inference Plaintiff seeks to

have this Court draw otherwise is pure speculation and is not a reasonable inference

that defeats summary judgment.52

       IV. No genuine issue of material fact as to whether Jacksonville’s
       training on the use of force constitutes “deliberate indifference.”

       The sole claim that is truly at issue here is whether Plaintiff can demonstrate

that Jacksonville was “deliberately indifferent” to a need to train its officers.53 She

49
   Evans, 762 F.3d at 1294.
50
   592 F. App’x 793, 802 (11th Cir. 2014). In this regard, Plaintiff’s attempted reliance on Ostling
v. City of Bainbridge Island, 872 F. Supp. 2d 1117 (W.D. Wash. 2012) and Russo v. Cincinnati,
953 F.2d 1036 (6th Cir. 1992) is also misplaced because Ostling involved a situation where the
record showed that fewer than all of the officers received training and Russo involved a situation
where the “content and adequacy” of the training was in dispute. Neither is true here on this record.
51
   Doc. 76-3/pp.48-49, 70-72.
52
   Ave. CLO Fund, Ltd., 723 F.3d at 1294; Hammett, 875 F.3d at 1050.
53
   Respectfully, this Court should disregard Plaintiff’s argument that McBrayer had a constitutional
right to medical care during his previous incarceration or should not have been released on his
own. (See Doc. 81/pp.31-32.) This case does not present these claims and a plaintiff cannot recast
or expand his claims when opposing summary judgment. Watts v. City of Opelika, 2015 U.S. Dist.

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has not (and cannot). The adequacy of a city’s training in the use of force is properly

evaluated as a whole and not as Plaintiff has continued to attempt to do, by isolating

alleged deficiencies on dealing with the mentally ill. This Court should analyze the

issue as one of the reasonableness and sufficiency of Jacksonville’s overall training

on the constitutional use of force.54 Jacksonville respectfully suggests that this Court

should not consider Plaintiff’s cursory argument that Jacksonville’s on-point

authorities on this issue are “distinguishable.”55 Plaintiff’s argument is so conclusory

that it is, in effect, simply an abandonment of any argument that Jacksonville’s

training of its police officers was not constitutionally adequate.56

        Plaintiff’s cursory argument that Jacksonville has not cited cases involving a

failure to train police officers on how to handle mentally ill citizens is also

demonstrably wrong. Plaintiff’s Brief utterly fails to even mention Shaw, which

squarely addressed exactly this issue. In Shaw, the officer faced a two-minute tense


LEXIS 161100, at *3 n.1 (M.D. Ala. Aug. 26, 2015). Any argument based on “failure to follow
policy” should also be disregarded. Bowen v. Warden, Baldwin State Prison, 826 F.3d 1312 (11th
Cir. 2016) is legally inapposite and Johnson v. Dixon, 666 F. App’x 828, 831 (11th Cir. 2016)
confirms that, even if Edwards had failed to follow policy, which he did not, that does not
necessarily indicate “deliberate indifference” by Jacksonville.
54
   Because the pertinent legal issue is whether there is “failure to train” in a particular area, Plaintiff
has actually cited cases that support Defendant’s position. In Mingo, for example, the Court found
training was constitutionally adequate in the “particular area” of the use of four-point restraints on
mentally ill individuals due to the existence of written policies and training of the officers. 592 F.
App’x at 800-01. And, neither Mingo nor Johnson stands for the proposition that a city must
provide extensive and specialized crisis intervention or mental health training to its police officers
as a matter of course to avoid a claim of deliberate indifference.
55
   See Doc. 81/pp.34-35.
56
   See Heining v. City of Anniston, 2017 U.S. Dist. LEXIS 157402, at *21 (N.D. Ala. Sep. 26,
2017) (collecting cases on abandonment of claims due to failure to adequately present them).

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encounter with a hatchet-wielding, cursing suspect and had “precious little

opportunity” to make a mental health diagnosis; the officer knew only that the

decedent was “very disorderly and incoherent.” The plaintiff did not identify any

deficiencies in the city’s training on dealing with such “disorderly and incoherent”

suspects, and, conclusively, the Shaw court found that the record lacked any

evidence to support a need for “further specialized” training in dealing with

“mentally ill citizens” when the officer was well-trained in the constitutional use of

force and there was no pattern of similar violations to support a finding of deliberate

indifference.57 The exact same is true here, where Edwards had just such extensive,

ongoing training in law enforcement practices and Plaintiff does not point to

evidence that the need for “further specialized training” in “dealing with mentally ill

citizens” was “so obvious” that it amounted to deliberate indifference. Her attempted

reliance on “model” mental health policies she thinks Jacksonville should have

adopted, and baseless speculation that such policies or further unspecified training

would have led Edwards to act differently, as in Shaw, is an insufficient basis to

establish municipal liability on a “failure to train claim.”

         WHEREFORE, PREMISES CONSIDERED, Defendant respectfully

submits this reply, and for the reasons stated here and in its initial brief on this issue,

request this Court to enter summary judgment in its favor on Plaintiff’s claim.


57
     241 F. Supp. 3d at 1279 n.29 & 1280 n.30.

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                                             Respectfully submitted,

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